Case 5:22-cr-50018-RAL    Document 76    Filed 09/26/23   Page 1 of 9 PageID #: 176




                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


 UNITED STATES OF AMERICA,                           5:22-CR-50018-JLV

                   Plaintiff,
                                                 ORDER DENYING MOTION
       vs.                                         TO SEVER (DOC. 74)

 MATTHEW PEPIN,

                   Defendant.


      Matthew Pepin filed a Motion to Sever “Counts 1 and 2 from the other

allegations and sever Counts 6 and 7 to be tried individually.” (Doc. 74). The

United States opposes the motion. (Doc. 75). The seven-count Superseding

Indictment in the above captioned case charges four counts of Distribution of

Controlled Substance Resulting in Death and Serious Bodily Injury in violation

of 21 U.S.C. §§ 841(a)(l) and 841(b)(l)(C) and three counts of Possession with

Intent to Distribute Controlled Substance in violation of 21 U.8.C. §§ 841(a)(l)

and 841(b)(l)(B) and (C). (Doc. 62). The pending motions were referred to the

Magistrate Judge pursuant to 28 U.S.C. §§ 636(b)(1)(A) and (B) and United

States District Court District of South Dakota’s local rules, LR 57.11(B).

                           FACTUAL BACKGROUND

      Resolution of a motion for joinder must be determined from the factual

allegations of the indictment and those allegations are to be considered as true.

United States v. Massa, 740 F.2d 629, 644 (8th Cir. 1984); see also United




                                        1
Case 5:22-cr-50018-RAL    Document 76     Filed 09/26/23   Page 2 of 9 PageID #: 177




States v. Willis, 940 F.2d 1136, 1138 (8th Cir. 1991) (“the indictment on its

face revealed a proper basis for joinder”).

      The indictment states, in various counts, that on or about October 26,

2021, January 22, 2022, September 6, 2021, and November 16, 2021, in Rapid

City, in the District of South Dakota, Matthew Pepin, did knowingly and

intentionally distribute a controlled substance, resulting in overdose, death, or

serious bodily injury to four individuals. (Doc. 62). 1 The indictment also

states that on or about January 26, 2022, in Rapid City, in the District of

South Dakota, Matthew Pepin, did knowingly and intentionally possess with

the intent to distribute a mixture or substance containing a detectable amount

of heroin, methamphetamine, and fentanyl. Id. 2

                                  DISCUSSION

    I. Motions to Sever

      Mr. Pepin “respectfully requests the Court to sever Counts 1 and 2 from

the other allegations and sever Counts 6 and 7 to be tried individually. Counts

3, 4, and 5 could be tried with Count 2, Annalease Red Shirt.” (Doc. 74, p. 3).

The United States opposes the motion because Pepin did “not establish[] severe

prejudice from a trial on all counts.” (Doc. 75, p. 5).



1 Count I charges the overdose (heroin) resulting in serious bodily injury to
Brian Adkins on October 26, 2021; Count II charges the overdose (fentanyl)
death of Annalese Red Shirt on January 22, 2022; Count VI charges the
overdose (fentanyl) death of Brian Branson on September 6, 2021; and Count
VII charges the overdose (heroin) resulting in serious bodily injury to Jennifer
Nordby on November 16, 2021.
2 Count III charges possession with the intent to distribute methamphetamine;

Count IV charges possession with the intent to distribute heroin; and Count V
charges possession with the intent to distribute fentanyl.
                                         2
Case 5:22-cr-50018-RAL      Document 76    Filed 09/26/23   Page 3 of 9 PageID #: 178




         A. The Counts are Properly Joined under Rule 8(a)

         When considering a motion for severance, the district court must first

determine whether joinder was proper under Rule 8(b) of the Federal Rules of

Criminal Procedure. United States v. Darden, 70 F.3d 1507, 1526 (8th Cir.

1995). Federal Rule of Criminal Procedure 8(a) provides an indictment may

charge a defendant in separate counts with two or more offenses if the offenses

charged “are of the same or similar character, or are based on the same act or

transaction, or are connected with or constitute parts of a common scheme or

plan.”

         The Eighth Circuit has held Rule 8(a) is “broadly construed in favor of

joinder to promote the efficient administration of justice.” United States v.

Taken Alive, 513 F.3d 899, 902 (8th Cir. 2008) (internal citations omitted). The

rules regarding joinder and severance are “designed to promote economy and

efficiency and to avoid a multiplicity of trials, where these objectives can be

achieved without substantial prejudice to the right of the defendants to a fair

trial.” Bruton v. United States, 391 U.S. 123, 132 (1968) (internal quotation

omitted). “Joinder of offenses is proper where the two counts refer to the same

type of offenses occurring over a relatively short period of time, and the

evidence as to each count overlaps.” United States v. Shearer, 606 F.2d 819,

820 (8th Cir. 1979).

         Here, Pepin does not argue that the claims are improperly joined under

8(a). All the offenses occurred between September 6, 2021, and January 26,

2022, less than a five-month timespan. The court finds that joinder under 8(a)

                                          3
Case 5:22-cr-50018-RAL    Document 76     Filed 09/26/23   Page 4 of 9 PageID #: 179




is proper as the offenses are of the same or similar character, namely Pepin’s

possession of a controlled substance with intent to distribute, as well as actual

distribution of the same substances. Further, the counts are a part of a

common scheme or plan, namely the distribution of controlled substances. In

light of proper joinder, the issue is whether the joinder is prejudicial,

permitting severance.

      B. Severance under Rule 14(a)

      Severance under Federal Rule of Criminal Procedure 14(a) provides, “[i]f

the joinder of offenses or defendants in an indictment, an information, or a

consolidation for trial appears to prejudice a defendant or the government, the

court may order separate trials of counts, sever the defendants’ trials, or

provide any other relief that justice requires.”

      “Prejudice to the defendant must be both ‘real’ and ‘clear’.” United States

v. Payton, 636 F.3d 1027, 1037 (8th Cir. 2011) (internal quotation marks and

citation omitted). There is a strong presumption against severing properly

joined counts and the defendant carries a heavy burden in establishing

prejudice. Id.; United States v. Ruiz, 412 F.3d 871, 886 (8th Cir. 2005). This

is because the rules regarding joinder and severance “are designed ‘to promote

economy and efficiency and to avoid a multiplicity of trials, [so long as] these

objectives can be achieved without substantial prejudice to the right of the

defendants to a fair trial.’ ” Zafiro v. United States, 506 U.S. 534, 540 (1993)

(quoting Bruton, 391 U.S. at 131 n.6). The Eighth Circuit has explained that

these rules should be construed liberally in favor of joinder, see United States

                                         4
Case 5:22-cr-50018-RAL    Document 76     Filed 09/26/23   Page 5 of 9 PageID #: 180




v. Johnson, 462 F.3d 815, 821 (8th Cir. 2006), and has held that “[o]nly in an

unusual case ... will the prejudice resulting from a joint trial be substantial

enough to outweigh the general efficiency of joinder.” United States v.

Huggans, 650 F.3d 1210, 1221 (8th Cir. 2011) (quoting United States v. Kirk,

528 F.3d 1102, 1107 (8th Cir. 2008)).

      This clear preference for joinder, applicable here, may be overcome if the

party moving to sever “can show that the benefits [of joinder] are outweighed by

a clear likelihood of prejudice.” United States v. Clay, 579 F.3d 919, 927 (8th

Cir. 2009). When the risk of prejudice is high, a district court is more likely to

determine that separate trials are necessary; however, the risk of prejudice

posed by joint trials is best cured by “less drastic measures, such as limiting

instructions.” Zafiro, 506 U.S. at 537.

      Rule 14 severance should be granted only “if there is a serious risk that a

joint trial would compromise a specific trial right of one of the defendants[] or

prevent the jury from making a reliable judgment about guilt or innocence.”

United States v. Zafiro, 945 F.2d 881, 885 (7th Cir. 1991). Substantial

prejudice from a joint trial may be shown where, for example, “the jury might

use evidence of one crime to infer guilt on the other [crime] or that the jury

might cumulate the evidence to find guilt on all crimes when it would not have

found guilty if the crimes were considered separately.” Huggans, 650 F.3d at

1221 (quoting United States v. Davis, 103 F.3d 660, 676 (8th Cir. 1996)); see

also United States v. Garrett, 648 F.3d 618, 625-26 (8th Cir. 2011) (internal

citation omitted) (“Severe prejudice occurs when a defendant is deprived of an

                                          5
Case 5:22-cr-50018-RAL    Document 76    Filed 09/26/23   Page 6 of 9 PageID #: 181




appreciable chance for an acquittal, a chance that [he] would have had in a

severed trial[.]”).

       On the other hand, “[w]here evidence that a defendant had committed

one crime would be probative and thus admissible at the defendant's separate

trial for another crime, the defendant does not suffer any additional prejudice if

the two crimes are tried together.” United States v. Reynolds, 720 F.3d 665,

669 (8th Cir. 2013); see United States v. Mink, 9 F.4th 590, 604 (8th Cir. 2021)

(quoting United States v. McCarther, 596 F.3d 438, 442 (8th Cir. 2010) (“No

prejudice results from the refusal to sever when evidence of one charge would

be admissible in a separate trial on the other.”); United States v. Brown, 653

F.3d 656, 662 (8th Cir. 2011).

       C. Pepin has not Established Prejudice Warranting Severance

       When joinder is proper under Rule 8, the defendant seeking to sever his

case has the burden to demonstrate how a joint trial would prejudice his right

to a fair trial. Darden, 70 F.3d at 1526. Pepin argues “[t]he prejudicial effect of

the joinder of these two drugs overdoses offenses is huge. The witnesses are

separate and unique, and the only common witness would be the forensic

pathologist.” (Doc. 74, p. 6). The United States asserts “the prosecution will

involve overlapping witnesses, including the case agent, medical experts, and

civilian witnesses, as well as customers of the defendant. 3 In other words, the



3 The United States stated, “people who purchased controlled substances from

the defendant would be called as witnesses in support of all the counts charged
to show knowledge, intent to distribute, and actual distribution.” (Doc. 75, pp.
4-5).
                                        6
Case 5:22-cr-50018-RAL    Document 76     Filed 09/26/23   Page 7 of 9 PageID #: 182




defendant’s assessment that the only common witness would be the forensic

pathologist is incorrect.” (Doc. 75, p. 4).

      Pepin alleges prejudice because the “forensic medical testimony will be

voluminous” and overly cumulative. (Doc. 74, p. 7). In this case, both the

overdose deaths are alleged to be the result of the defendant’s distribution of

fentanyl to the victims (counts 2 and 6 (which also include heroin)). Both the

non-fatal overdose deaths are alleged to be the result of the defendant’s

distribution of heroin to the victims (counts 1 and 7). It does not appear that

the medical testimony regarding the effects of certain drugs on the body will be

cumulative. In fact, it will likely improve the education of the jury to

understand whether the United States has met its burden to show that, but for

the ingestion of the drug, the victim would not have died or been placed in

serious risk of death. With proper instruction, the jury will not have any more

difficulty in understanding the evidence than would be true in other cases

involving medical testimony.

      Pepin states “courts have also recognized the danger in joinder of

offenses that arises from the difficulty of presenting separate defenses to each

offense charged, especially where the defendant may want to testify with

respect to one offense but not the other.” (Doc. 74, p. 2). A defendant does

not satisfy this burden by simply suggesting he may want to testify on one

count, but not another. States v. Jardan, 552 F.2d 216, 220 (8th Cir. 1977).

Pepin failed to present “enough information regarding the nature of the

testimony he wishes to give on one count and his reasons for not wishing to

                                         7
Case 5:22-cr-50018-RAL    Document 76     Filed 09/26/23   Page 8 of 9 PageID #: 183




testify on the other to satisfy the court that the claim of prejudice is genuine

and to enable [the court to] intelligently weigh the considerations of ‘economy

and expedition in judicial administration against the defendant’s interest in

having a free choice with respect to testifying.’ ” Id. Therefore, Pepin failed to

establish prejudice warranting severance. See United States v. Possick, 849

F.2d 332, 338 (8th Cir. 1988).

      Pepin asserts that severance is warranted because “[t]he jury must view

the charges and elements independently, which would be very difficult, if not

impossible, for a potential juror in this case. The dissimilarity between these

counts prejudices the defense and the Government’s strategy deprives the

defendant of a Fair Trial and Due Process and prejudices the defense by merely

showing propensity.” Id. at p. 7. However, this alleged risk of prejudice can be

addressed with a relatively standard jury instructions. See United States v.

Mann, 685 F.3d 714, 718 (8th Cir. 2012). The Eighth Circuit pattern jury

instructions make it clear that when a defendant is charged with separate

crimes the jury must consider each count separately and return a separate

verdict for each count. See Eighth Circuit Manual of Model Criminal Jury

Instructions 3.06. It is presumed that jurors will follow the Court's

instructions. Zafiro, 506 U.S. at 573.

      Pepin has not demonstrated that substantial prejudice would result from

a joint trial of all his Counts. The counts involve similar conduct, and it

appears that there is sufficient overlap of issues such that evidence of one

crime would be probative and admissible at the defendant’s separate trial for

                                         8
Case 5:22-cr-50018-RAL    Document 76     Filed 09/26/23   Page 9 of 9 PageID #: 184




the other crime. Reynolds, 720 F.3d at 669. Because the evidence of one

charge would be admissible in a separate trial on the other, no prejudice

results. See Mink, 9 F.4th at 604 (quoting McCarther, 596 F.3d at 442).

Therefore, Pepin is unable to establish prejudice warranting severance.

      Pepin’s motion to sever is denied because joinder is appropriate and

there appears to be no risk of severe prejudice that cannot be addressed with a

standard jury instruction.

                                   CONCLUSION

      For the foregoing reasons, it is hereby ORDERED that Defendant’s

Motion to Sever (Doc. 74) be denied.

                              NOTICE TO PARTIES

       Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration
of this order before the district court upon a showing that the order is clearly
erroneous or contrary to law. The parties have fourteen (14) days after service
of this order to file written objections pursuant to 28 U.S.C. § 636(b)(1)(A),
unless an extension of time for good cause is obtained. See FED. R. CRIM. P.
58(g)(2); 59(a). Failure to file timely objections will result in the waiver of the
right to appeal questions of fact. FED. R. CRIM. P. 59(a). Objections must be
timely and specific in order to require review by the district court. Thompson
v. Nix, 897 F.2d 356 (8th Cir. 1990); Nash v. Black, 781 F.2d 665 (8th Cir.
1986).

      DATED this 26th day of September, 2023.

                                       BY THE COURT:



                                       Daneta Wollmann
                                       United States Magistrate Judge




                                         9
